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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

                                                        ORDER GRANTING LAWI’S
                                                        MOTION TO APPOINT LEAD AND
 IN RE POLARITYTE, INC. SECURITIES
                                                        LIAISON COUNSEL
 LITIGATION,

 THIS DOCUMENT RELATES TO:                              Master File No. 2:18-cv-510-JNP
 All Actions                                            (Consolidated with 2:18-cv-514-DB)
                                                        District Judge Jill Parrish



       This matter is before the court on the Motion of Yedid Lawi (“Lawi”) for Approval of Lead

Counsel and the Memorandum of Law in Further Support of Motion of Lead Plaintiff Yedid Lawi

for Approval of Lead and Liaison Counsel (“Supplemental Memorandum”).

       The court appointed Lawi lead plaintiff in this action on January 16, 2019 pursuant to

21D(a)(3)(B) of the PLSRA, 15 U.S.C. § 77-1(a)(3)(B). As lead plaintiff in a securities class

action, pursuant to 15 U.S.C. § 78u-4 (a)(3)(B)(v), Lawi “shall, subject to the approval of the court,

select and retain counsel to represent the class.” Initially Lawi moved the court to approve two

firms, Pomerantz LLP (“Pomerantz”) and Holzer & Holzer, LLC (“Holzer”) to serve as “co-lead

counsel,” and a third firm, Harper Law, to serve as “liaison counsel.” The court reserved ruling on

the motion to approve counsel pending supplemental briefing from Lead Plaintiff.

   1. Lead Counsel

       In the Supplemental Memorandum filed on January 25, 2019, Lawi withdrew his

nomination of Holzer and asked the court to appoint Pomerantz as Lead Counsel and Harper as

Liaison Counsel. In the court’s order of January 16, 2019, the court found that Pomerantz was
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qualified to serve as lead counsel and the court now GRANTS Lawi’s motion to approve

Pomerantz as lead counsel in this matter. 1

    2. Liaison Counsel

       In Lawi’s Supplemental Memorandum, Lawi again asks the court to appoint Harper Law

as Liaison Counsel. In support, Lawi cites other cases in this district where the court has approved

Liaison Counsel. Lawi additionally argues that the Class’s interests would be best “served by the

involvement of counsel with significant experience litigating securities class actions in the District

of Utah.” To the extent the role of liaison counsel is to fulfill the role of local counsel required by

the District of Utah Local Rules, the court finds that liaison counsel is appropriate. As the court

has already found that Harper Law is qualified to serve as counsel in this case, the court hereby

GRANTS Lawi’s motion to approve Harper Law as liaison counsel.



                                              ORDER

    1. Lead Plaintiff’s selection of counsel is approved pursuant to Section 21D(a)(3)(B)(v) of

       the PSLRA, 15 U.S.C. § 77-1(a)(3)(B)(v). Pomerantz LLP is appointed as lead counsel,

       and Harper Law is appointed as liaison (local) counsel for the proposed class in the

       consolidated action.

    2. Lead Plaintiff shall file and serve a Consolidated Complaint no later than sixty (60) days

       after the date of this order;




1
 Lawi’s Supplemental Memorandum withdrew Lawi’s nomination of Holzer, but asked the
court to approve Pomerantz delegating work in this matter to Holzer. The court declines to
authorize any such delegation absent prior approval. If Pomerantz foresees being unable to
handle the litigation, Pomerantz should not be appointed as lead counsel in this manner.


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3. Defendants have sixty days after filing and service of the Consolidated Complaint to

   answer or otherwise respond to the Consolidated Complaint; AND

4. Within 90 days of service of the Consolidated Complaint, Lawi must file a motion for

   class certification pursuant to DUCivR 23-1(d).




   SIGNED February 1, 2019

                                        BY THE COURT:


                                        ______________________________________
                                        JILL N. PARRISH
                                        United States District Judge




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